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           EXHIBIT B
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                                               COHELAN KHOURY & SINGER
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                                                                 July 16, 2019

            Via Certified U.S. Mail With Return Receipt
            Matterport, Inc.
            352 E. Java Drive
            Sunnyvale, CA 94089

                         Re:         Kenner v. Matterport, Inc.
                                     Santa Clara Superior Court Case No. 19CV350887

            To Matterport, Inc.:

                    This finn, represents George Kem1er in com1ection with a lawsuit against Matterport, Inc.
            (hereinafter "Defendant"). You are hereby given notice to immediately take all steps necessary to
            prevent the destruction, loss, concealment, or alteration of any paper, document, or electronically
            stored information ("ESI") and other data or information generated by you and/or stored on your
            computers and storage media (e.g., hard disks, CD-ROMs, floppy disks, backup media, etc.), and
            e-mail related to:

                   (!) any participant of Matterport's Services Partners ("MSP") Program for 3D imaging
            from July 15, 2015 to the present, including but not limited to service contracts, purchases of any
            3D imaging camera or scanner equipment, Cloud Plan Services, and any disclosures made to any
            MSP participant or the California Office of Attorney General; and

                    (2) ESI and documents you may use to support any defenses you may claim to have in
            this lawsuit.

                    This letter shall serve as Mr. Kem1er' s demand that Defendant preserve and maintain
            copies of all data, electronic data, and metadata related to the claims in this case.

                    You should anticipate that much of the information subject to disclosure and responsive
            to discovery in this lawsuit is stored on your current or former computer systems and other media
            and devices (including personal digital or data assistants, voice-messaging or voicemail systems,
            online repositories, and cell phones).

                   ESI should be afforded the broadest possible definition and includes, but is not limited to,
           all digital communications (e.g., e-mail, voice mail, instant messaging), word processed
           documents (e.g. Word and WordPerfect documents and drafts), spreadsheets and tables (e.g.
           Excel, Access, and Lotus 123 worksheets), accounting application data (such as QnickBooks,
           Money, or Peachtree), image and facsimile files (including PDF, TIFF, JPG, and GIF images),
           sound recordings (including WAV and MP3 files), video recordings, all databases, all contact
           and relationship management data, calendar and diary application data, online access data
           (including temporary, Internet files, History, and Cookies), all presentations (including
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PowerPoint and Corel), all network access and server activity logs, all data created with the use
of any Personal Data Assistant ("PDA") or Pocket PC devices, including cellular phones, all
CAD files, and all backup and archival files.

        Adequate preservation of ESI requires more than simply refraining from efforts to
destroy or dispose of such evidence. You must also intervene to prevent loss due to routine
operations and employ proper techniques to safeguard all such evidence.

       Because hard copies do not preserve electronic searchability or metadata, they are
not an adequate substitute for ESI. If information exists in both electronic and paper form,
you should preserve them both.

                                       LITIGATION HOLD

         You are requested to irmnediately initiate a litigation hold for potentially relevant ESI,
documents, and tangible things, and to act diligently and in good faith to secure and audit
compliance with that litigation hold. You are also requested to preserve and not destroy all
passwords, decryption procedures (including, if necessary, the software to decrypt the files),
network access codes, ID names, manuals, tutorials, written instructions, decompression or
reconstruction software, and any and all other infonnation and things necessary to access, view,
and (if necessary) reconstruct any ESL You should not pack, compress, purge, or dispose of any
file or any part thereof.

        You are further requested to immediately identify and modify or suspend features of your
operations, infonnation systems, and devices that, in routine operations, operate to cause the loss
of documents, tangible items, or ESL Examples of such features and operations include, but are
not limited to, purging the contents of e-mail repositories by age, capacity, or other criteria; using
data or media wiping, disposal, erasure, or encryption utilities or devices; overwriting, erasing,
destroying, or discarding backup media; re-assigning, re-imaging or disposing of systems,
servers, devices, or media; nmning antivirus or other programs that alter metadata; usmg
metadata stripper utilities; and destroying documents or any ESI by age or other criteria.

                                             SERVERS

        With respect to servers like those used to manage electronic mail and network storage,
the entire contents of each user's network share and e-mail account should be preserved and not
modified.

                                            STORAGE

        With respect to on-line storage and/or direct access storage devices attached to your
mainframe computers and/or minicomputers, in addition to the above, you are not to modify or
delete any ESI, "deleted" files, and/or file fragments existing on the date of this letter's delivery
that contain potentially relevant infonnation.

       With regard to all electronic media used for off-line storage, including magnetic tapes
and cartridges, optical media, electronic media, and other media or combinations of media
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containing potentially relevant infonnation, you are requested to stop any activity which may
result in the loss of any ESI, including rotation, destruction, overwriting, and erasure in whole or
in part. This request is intended to cover all media used for data or infom1ation storage in
c01mection with your computer systems, including magnetic tapes and cartridges, magneto-
optical disks, floppy diskettes, and all other media, whether used with personal computers,
minicomputers, mainframes or other computers, and whether containing backup and/or archival
ESL

                                   PERSONAL COMPUTERS

         You should take immediate steps to preserve all ESI on all personal computers used by
your officers, directors and employees, including all secretaries and assistants, which in any way
relate to your Services Partners ("MSP") Program for 3D imaging from July 15, 2015 to the
present. As to fixed devices, (1) a true and correct copy is to be made of all such ESI, including
all active files and completely restored versions of all deleted electronic files and file fragments;
(2) full directory listings (including hidden files) for all directories and subdirectories (including
hidden directories) on such fixed devices should be written; and (3) all such copies and listings
are to be preserved m1til this litigation is ended. As to floppy diskettes, CDs, tapes, and other
non-fixed media relating to this matter, they are to be collected and stored pending resolution of
this litigation.

                                     PORTABLE SYSTEMS

       In addition to your immediate preservation of ESI, documents and tangible items in your
business, on servers and workstations, you should also determine if any home or portable
systems may contain potentially relevant data or information. To the extent that your officers,
board members, or employees have sent or received potentially relevant emails or created or
reviewed potentially relevant documents away from the office, you must preserve the contents of
systems, devices, and media used for these purposes (including not only potentially relevant data
from portable and home computers, but also from portable thumb drives, CD-R discs, PDAs,
smartphones, voice mailboxes, or other forms of ESI storage). Additionally, if any of your
employees, officers, or directors used online or browser-based e-mail accounts or services to
send or receive potentially relevant messages and attachments, the contents of these account
mailboxes should be preserved.

                EVIDENCE CREATED OR ACQUIRED IN THE FUTURE

       With regard to documents, tangible things, and ESI that are created or come into your
custody, possession, or control subsequent to the date of delivery of this letter, potentially
relevant evidence is to be preserved. You should take all appropriate action to avoid destruction
of potentially relevant evidence.

        Please forward a copy of this letter to your legal counsel and/or in-house com1sel and to
all persons and entities possessing or controlling potentially relevant evidence. This notice may
impact your legal rights, potentially result in further penalties, and provide grounds for
significant evidentiary sanctions for the failure to preserve evidence.
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       We are putting you on notice that we are demanding that all of the information and data
on your, website( s) be preserved so that, as any changes are made, no relevant evidence is
destroyed.

       If you have any comments or questions, please feel free to contact our office.



                                                             OURY & SINGER
